                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A case management conference was scheduled on March 11, 2008, to consider Plaintiff's appeal. On January 30, 2008, notice of the case management conference was sent to Plaintiff at 475 Hamilton Avenue, Eugene, OR 97402, 1 which was the address Plaintiff provided to the court. The notice was not returned as undeliverable. Plaintiff did not appear at the case management conference, and there was no explanation for Plaintiff's failure to appear.
On March 11, 2008, the court sent Plaintiff a letter, which explained the importance of diligently pursuing an appeal. The letter advised that if Plaintiff did not provide a written explanation by March 25, 2008, for her failure to appear, the court would dismiss the appeal. On March 20, 2008, a second letter was sent to Plaintiff, extending the deadline date to March 31, 2008, due to an error discovered in the March 11, 2008, letter. Neither letter was not returned as *Page 2 
undeliverable. As of this date, Plaintiff has not contacted the court. Under such circumstances, the court finds the appeal must be dismissed for want of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this ____ day of April 2008.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailingto: 1163 State Street,Salem, OR 97301-2563; or by hand deliveryto: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattson on April 7,2008. The Court filed and entered this document on April 7, 2008.
1 Plaintiff's Complaint clearly listed her zip code as 97402. The return address on the envelope which contained the Complaint clearly stated the zip code as 97404. In any case, the letters were not returned to the court. *Page 1 